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                                                                                      03/20/2013

     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-2(c)
     ABELSON & TRUESDALE, LLC
     147 Union Avenue, Suite 1E
     Middlesex, New Jersey 08846
     By: Bruce C. Truesdale, Esq., (BCT 0928)
     (732) 302-9600
     Attorney for Debtors




     In Re:                                                      Case No.: 12-33883

     ROBERT K. BRYANT                                            Adv. No.: None
     LYNN E. BRYANT
                                                                 Hearing Date: 2/26/2013

                                                                 Judge: Michael B. Kaplan




                              ORDER REDUCING PROOF OF CLAIM AND
                             NOTICE OF MORTGAGE PAYMENT CHANGE

              The relief set forth on the following pages, numbered two (2) through
              _____2_____ is hereby ORDERED.




DATED: 03/20/2013
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Page 2
Robert K. Bryant and Lynn E. Bryant
Order REDUCING Proof of Claim and Notice of Mortgage Payment Change
______________________________________________________________________________



       This matter having been opened to the Court on the Motion of ABELSON, &
TRUESDALE, LLC, counsel for the debtor[s] for an Order REDUCING the Proof of Claim of
CitiMortgage, Inc., claim number 10 on the claims register and Notice of Mortgage Payment
Change, document number 24 on the Docket Sheet and for good cause having been shown, it is
hereby

         ORDERED, that the Proof of Claim of CitiMortgage Inc., Be and Is REDUCED from
$9,926.06 to $ __7,655.28___;
         IF IS FURTHER ORDERED, that the Notice of Mortgage Payment Change is reduced to
reflect the correct monthly mortgage payment of $ ____1,138.63_____.




                                                      Approved by Judge Michael Kaplan March 20, 2013
